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 6

 7
                      IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,            ) Case No.: 1:12-CR-00301-AWI
                                          )
11              Plaintiff,                )
                                          )
12       vs.                              ) STIPULATION AND ORDER TO
                                          ) CONTINUE CHANGE OF PLEA
13                                        )
                                          )
14   DEANA SHIRELLE NOLEN AND             ) Date: May 20, 2013
     WILLIE SHERMAN PRUDE,                ) Time: 10:00 a.m.
15                                        ) Hon. Anthony W. Ishii
                Defendants.               )
16

17       Plaintiff United States of America, by and through its
18   counsel of record, and Defendants, by and through their
19   counsel of record, hereby stipulate as follows:
20       1. By previous order, this matter was set for Change of
21   Plea on May 20, 2013, at 10:00 a.m.
22       2. By this stipulation, defendant now moves to continue
23   the Change of Plea until June 17, 2013, at 10:00 a.m. and to
24   exclude time between May 20, 2013, and June 17, 2013, under 18
25   U.S.C.§ 3161(h)(7)(A), B(iv). Plaintiff does not oppose this
26   request.
27       3. The parties agree and stipulate, and request that the
28   Court find the following:
                                           - 1 -
                Stipulation and [Proposed] Order to Continue Change of Plea
                               CASE NO.: 1:12-CR-00310-AWI
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 1             a. The Defendants are still working on acquiring the
 2         funds needed to travel to this court for their Change of
 3         Plea and Sentencing hearings.
 4             b. Additional time is needed for further plea
 5         negotiations.
 6             c. The government does not object to the continuance.
 7             d. Based on the above-stated findings, the ends of
 8         justice served by continuing the case as requested
 9         outweigh the interest of the public and the Defendants in
10         a trial within the original date prescribed by the Speedy
11         Trial Act.
12             e. For the purpose of computing time under the Speedy
13         Trial Act, 18 U.S.C. § 3161, et seq., within which trial
14         must commence, the time period of May 20, 2013, to June
15         17, 2013, inclusive, is deemed excludable pursuant to 18
16         U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a
17         continuance granted by the Court at Defendants request on
18         the basis of the Court's finding that the ends of justice
19         served by taking such action outweigh the best interest of
20         the public and the defendant in a speedy trial.
21         4. Nothing in this stipulation and order shall preclude a
22   finding that other provisions of the Speedy Trial Act dictate
23   that additional time periods are excludable from the period
24   within which a trial must commence.
25   ///
26   ///
27   ///
28   ///
                                          - 2 -
               Stipulation and [Proposed] Order to Continue Change of Plea
                              CASE NO.: 1:12-CR-00310-AWI
                           Case 1:12-cr-00301-LJO-BAM Document 86 Filed 05/17/13 Page 3 of 4


 1   IT IS SO STIPULATED.
 2
     Dated: May 16, 2013                                        /s/ Kirk E. Sherriff
 3
                                                                Assistant United States
 4
                                                                Attorney

 5
     Dated: May 16, 2013                                        /s/ Anthony P. Capozzi
 6
                                                                Anthony P. Capozzi
 7
                                                                Attorney for
                                                                DEANA SHIRELLE NOLEN
 8

 9   Dated: May 16, 2013                                        /s/ Carl Faller
10
                                                                Carl Faller
                                                                Attorney for
11
                                                                WILLE SHERMAN PRUDE

12

13                                                         ORDER
14

15                           For reasons set forth above, the continuance requested by
16   the parties is granted for good cause and time is excluded
17   under the Speedy Trial Act from May 20, 2013, to, and
18   including, June 17, 2013, based upon the Court’s finding that
19   the ends of justice outweigh the public’s and defendant’s
20   interest in a speedy trial. 18 U.S.C. §3161(h)(7)(A).
21                           IT IS ORDERED that the Change of Plea currently scheduled
22   for May 20, 2013, at 10:00 a.m. is continued to June 17,
23   2013, at 10:00 a.m.
24

25

26   IT IS SO ORDERED.

27   Dated: May 16, 2013
                                                         SENIOR DISTRICT JUDGE
28   DEAC_Signature-END:




                                                             - 3 -
                                  Stipulation and [Proposed] Order to Continue Change of Plea
                                                 CASE NO.: 1:12-CR-00310-AWI
       Case 1:12-cr-00301-LJO-BAM Document 86 Filed 05/17/13 Page 4 of 4


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               Stipulation and [Proposed] Order to Continue Change of Plea
                              CASE NO.: 1:12-CR-00310-AWI
